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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

                                      )
UNITED STATES OF AMERICA,             )
                                      )
                                      )
                  v.                  ) Case No. 1:21-cr-00216-JDB
                                      )
                                      ) District Judge John D. Bates
LEO BRENT BOZELL IV,                  )
                                      )
     Defendant.                       )
                                      )

             DEFENDANT BOZELL’S MOTION TO DISMISS
          COUNTS ONE, THREE AND FOUR OF THE INDICTMENT




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       Defendant Leo Brent Bozell IV, through his counsel, files this second motion to dismiss

Counts One, Three and Four of the Indictment, pursuant to Rule 12(b) of the Federal Rules of

Criminal Procedure.

                                        INTRODUCTION

       The Indictment charges that, on January 6, 2021, Bozell unlawfully entered a “restricted

area” at the Capitol in violation of 18 U.S.C. § 1752(a)(1)(Counts Three and Four).                In

connection therewith he “corruptly obstructed” an “official proceeding,” i.e., “Congress’s

certification of the Electoral College Vote,” in violation of 18 U.S.C. § 1512(c)(2)(Count One).

       The legal theories on which those charges rest are the result of dubious craftsmanship

whereby DOJ attorneys were tasked to find bases to transform traditional misdemeanor offenses

for unlawful political protests into novel felonies under expansive readings of criminal statutes

never before employed for that purpose. This was done at the expense of statutory text, case law,

and legislative history.

       The gambit – that the public will care less about the legalities of the day given the subject

matter of the protest than they do when protests concern, for example, environmental or regulatory

causes. Public pressure resting on cries of “insurrection” and “threat to democracy” could motivate

courts to go along – at least at the start while public opinion is being shaped by political interests

inside various governmental institutions.

       But the courts should not go along and should dismiss these charges as misapplications of

federal criminal law for ulterior political motives.

       Section 1512(c)(2). To the extent the government theory rests on the claim that Bozell

intended to “corruptly obstruct” the proceedings taking place inside the Capitol on January 6

pursuant to 3 U.S.C. § 15, the “Electoral Vote Act”, the theory rests upon infirm constitutional


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grounds. Section 15 violates the express provisions of the Twelfth Amendment to the United

States Constitution, with Congress having granted to itself the power to alter the outcome of

Presidential elections in a manner not consistent with the process expressly set forth in the Twelfth

Amendment. Neither “certify” nor “certification” by Congress appear anywhere in the text of the

Twelfth Amendment.

       The government’s obstruction theory also distorts the plain meaning of Section 1512(c) in

several ways. First, every circuit to address the issue has construed the statute’s phrase “official

proceeding” to mean one with a truth-seeking function carrying the threat of a penalty, i.e.,

administering justice. That is why the Department of Justice’s handbook for prosecutors instructs

that Section 1512’s “official proceeding” is no different from the “proceeding” found in Section

1505, which limits obstruction-of-Congress offenses to congressional inquiries or investigations.

It is why, before January 6, the DOJ stipulated in court the synonymity between “proceedings”

under Sections 1512 and 1505. Because the government concedes that the joint session of

Congress on January 6 was not an inquiry or investigation, its Section 1512(c) charge must be

dismissed. It must also be dismissed as its argument requires the Court first to resolve a political

question: what are the constitutionally proper procedures for certifying Electoral College votes, a

question reserved for Congress under the Rulemaking Clause. U.S. Const. Art. I, § 5, cl. 2. Courts

say what the law is but only Congress says what its parliamentary rules are.

       Second, by taking the traditional parading-in-Congress misdemeanor offense and claiming

it now constitutes felony “obstruction of justice” under the financial and audit reforms of the

Sarbanes-Oxley Act of 2002, the government’s interpretation of Section 1512(c)’s “residual

clause” conflicts with the canon of ejusdem generis. Unless Section 1512(c)(2) is to swallow the

rest of Chapter 73 (and Title 40), it must be cabined to actions directed at undermining a



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proceeding’s truth-finding function by impairing the integrity and availability of evidence. That

standard is not satisfied by the allegation that Bozell merely entered the Capitol.

            Third, the government’s interpretation of Section 1512’s adverbial “corruptly” element is

flawed under any of the formulas it offers. Its theory is that “corruptly” means nothing more than

“wrongfully.” Decades ago, the D.C. Circuit found that construction unconstitutionally vague. It

still is.

            Section 1752. Since 1970, Section 1752 has criminalized the unlawful entry into areas

restricted for the protection of U.S. Secret Service (USSS) protectees. Statutory text, legislative

history, and common sense all point to the conclusion that the sole agency that restricts such areas

is the one that guards them, i.e., the USSS. An opinion by DOJ’s Office of Legal Counsel agrees.

But here, the government contends that any federal or state entity may criminalize a person’s

movements under federal law. It alleges that Bozell violated § 1752 because the Capitol was

visibly restricted by the USCP. But the USCP do not guard the USSS protectees identified in §

1752; they protect members of Congress, who are neither guarded by the USSS nor covered by §

1752.

            On all these grounds, the Court should dismiss Counts One, Three, and Four of the SI.

                    STATUTORY HISTORY AND FACTUAL BACKGROUND

            A.     Section 1512(c)(2)’s structure and legislative history
Section 1512(c) provides: “Whoever corruptly—

            (1)     alters, destroys, mutilates, or conceals a record, document, or other object, or
            attempts to do so, with the intent to impair the object’s integrity or availability for use in
            an official proceeding; or

            (2)     otherwise obstructs, influences, or impedes any official proceeding, or attempts to
            do so . . . shall be fined . . . or imprisoned. . .

§ 1512(c).


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       Section 1515 defines the term “official proceeding” as used in Section 1512(c). “[T]he

term ‘official proceeding’ means—

       (A)      a proceeding before a judge or court of the United States, a United States magistrate
                judge, a bankruptcy judge, a judge of the United States Tax Court, a special trial
                judge of the Tax Court, a judge of the United States Court of Federal Claims, or a
                Federal grand jury;

       (B)      a proceeding before the Congress;

       (C)      a proceeding before a Federal Government agency which is authorized by law; or

       (D)      a proceeding involving the business of insurance whose activities affect interstate
                commerce before any insurance regulatory official or agency or any agent or
                examiner appointed by such official or agency to examine the affairs of any person
                engaged in the business of insurance whose activities affect interstate commerce;

§ 1515(a)(1).

       Section 1515 also defines the term “corruptly”—but only for obstruction offenses charged

“in section 1505.” § 1515(b). Before this definition was added, the D.C. Circuit had determined

that § 1505’s adverb “corruptly” was unconstitutionally vague. United States v. Poindexter, 951

F.2d 369 (D.C. Cir. 1991). Congress subsequently amended § 1515 to provide,

                As used in section 1505, the term “corruptly” means acting with an
                improper purpose, personally or by influencing another, including
                making a false or misleading statement, or withholding, concealing,
                altering, or destroying a document or other information.

§ 1515(b) (emphasis added).

       Section 1512(c)(2) was enacted as part of the Sarbanes-Oxley Act of 2002 (SOX). SOX

was “[a]n Act to protect investors by improving the accuracy and reliability of corporate

disclosures made pursuant to securities laws, and for other purposes.” Sabanes-Oxley Act of 2002,

Pub. L. No. 107-204, 116 Stat. 745. As the previous U.S. attorney general described it, SOX “was

prompted by Enron’s massive accounting fraud and revelations that the company’s outside auditor,

Arthur Andersen, had systematically destroyed potentially incriminating documents.” Mem. of

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William P. Barr, dated June 8, 2018 (“Barr Mem.”), p. 5, available at: https://bit.ly/2RYVZ47.

Upon a review of the statute’s legislative history, the former attorney general concluded that the

plain purpose of § 1512(c)(2) was a “loophole closer meant to address the fact that the existing

section 1512(b) covers document destruction only where a defendant has induced another person

to do it and does not address document destruction carried out by a defendant directly.” Id.

       The legislative history supports the former attorney general’s interpretation of §

1512(c)(2)’s purpose.     A Senate Judiciary Committee report described SOX’s purpose as

“provid[ing] for criminal prosecution and enhanced penalties of persons who defraud investors in

publicly traded securities or alter or destroy evidence in certain Federal investigations.” S. Rep.

No. 107-146, at 2 (2002). The report states that the Corporate Fraud Accountability Act was

designed to “clarify and close loopholes in the existing criminal laws relating to the destruction or

fabrication of evidence and the preservation of financial and audit records.” S. Rep. No. 107-146,

at 14-15. Section 1512(c) did not exist as part of the original proposal. S. 2010, 107th Cong.

(2002). Rather, Senator Trent Lott introduced it as an amendment in July 2002. 148 Cong. Rec.

S6542 (daily ed. July 10, 2002). The senator explained the purpose of adding § 1512(c):

               [This section] would enact stronger laws against document
               shredding. Current law prohibits obstruction of justice by a
               defendant acting alone, but only if a proceeding is pending and a
               subpoena has been issued for the evidence that has been destroyed
               or altered . . . [T]his section would allow the government to charge
               obstruction against individuals who acted alone, even if the
               tampering took place prior to the issuance of a grand jury subpoena.

Id. at S6545 (emphasis added).

       Senator Orin Hatch explained that § 1512(c) would “close [] [the] loophole” created by the

available obstruction statutes and hold criminally liable a person who, acting alone, destroys

documents. Id. As the former attorney generally summarized this history, “The legislative history



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thus confirms that § 1512(c) was not intended as a sweeping provision supplanting wide swathes

of obstruction law, but rather as a targeted gap-filler designed to strengthen prohibitions on the

impairment of evidence.” Barr Mem., p. 6.

       Unlike § 1512(c), Section 1505 concerns obstruction of congressional proceedings “by

threats or force.” It provides criminal penalties for:

               Whoever corruptly, or by threats or force . . . influences, obstructs,
               or impedes . . . the due and proper exercise of the power of inquiry
               under which any inquiry or investigation is being had by either
               House, or any committee of either House or any joint committee of
               the Congress—

§ 1505 (emphasis added).

       The italicized portions of that section show that Congress limited the obstruction-of-

Congress offense to a specific kind of congressional “proceeding”: those pursuant to Congress’s

“power of inquiry,” which are “inquir[ies] or investigation[s].” § 1505. The legislative history of

§ 1505 shows that it was designed to prevent obstruction of only those proceedings held pursuant

to Congress’s investigative power. Poindexter, 951 F.2d at 380-81. Section 241, the predecessor

of § 1505, was passed in 1940 to bar witness tampering before Congress. As the D.C. Circuit

summarized the legislative history: “The Senate and House Reports and the floor debates

concerning [§ 1505’s predecessor] . . . state that the ‘proposed legislation simply extends the

protection now provided by law for witnesses in Court proceedings to witnesses in proceedings

before either House of Congress or committees of either House (or joint committees).’” 951 F.2d

at 381 (quoting R. Rep. No. 1143, 76th Cong., 1st Sess. 1 (1939); S. Rep. No. 1135, 76th Cong.,

1st Sess. 1 (1939)).




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       B.      Section 1752 and the U.S. Secret Service
               1.      The legislative history of § 1752
       Congress enacted 18 U.S.C. § 1752 as part of the Omnibus Crime Control Act of 1970.

Public Law 91-644, Title V, Sec. 18, 84 Stat. 1891-92 (Jan. 2, 1971). At the time, the USSS was

part of the Treasury Department.

       Later Congresses would amend Section 1752, but like its current iteration, the 1970 statute

provided that it was “unlawful for any person . . . (1) willfully and knowingly to enter or remain

in . . . (ii) any posted, cordoned off, or otherwise restricted area of a building or grounds where the

President is or will be temporarily visiting. . .” 84 Stat. 1891-92. The statute made clear which

entity “prescribed regulations” governing the “posted, cordoned off, or otherwise restricted areas

where the President is or will be temporarily visiting”: the Treasury Department, of which the

USSS was then part. § 1752(d)(2); 84 Stat. 1892.

       In 1969, Senators Roman Lee Hruska and James Eastland designed S. 2896, which would

later be codified at § 1752. The very purpose of the bill was to give the Secret Service the power

to restrict areas for temporary visits by the president, a power which no other federal agency then

possessed. S. Rep. No. 91-1252 (1970). The Senate Judiciary Committee report accompanying

S. 2896 made clear that in 1970, “[a]lthough the Secret Service [was] charged with protecting the

person of the President . . . there [was], at the present time, no Federal statute which specifically

authorize[d] them to restrict entry to areas where the President maintains temporary residences or

offices.” S. Rep. No. 91-1252, at 7 (emphasis added).

       Similarly, during floor debate on the bill, senators explained that the key purpose of the

legislation that would become § 1752 was to vest the Secret Service in particular with the authority

to set restricted areas, cutting through the patchwork of existing State laws and local ordinances




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and freeing the Secret Service from reliance on other government agencies. Explaining the need

for S. 2896, Senator McClellan stated:

                Protecting the President . . . is a formidable task for the Secret
                Service, which is charged with safeguarding the personal life of the
                President. As difficult as this task is, however, it is rendered even
                more difficult because the Secret Service’s present powers are
                somewhat limited. Title 18, section 3056 of the United States Code
                authorizes the Secret Service to protect the life of the President, but
                does little more. Consequently, the Service must rely upon a
                patchwork of State laws and local ordinances and local officers to
                clear areas for security perimeters, to provide for free ingress and
                egress when the President is visiting, and to protect the President’s
                private homes from trespassers.

116 Cong. Rec. 35,651 (1970) (statement of Sen. McClellan) (emphasis added).

        Similarly, Senator Hruska explained that S. 2896 was needed to empower the Secret

Service to set restricted areas:

                It would be unconscionable not to recognize the obvious fact that
                the President’s vulnerability is maximized when he is traveling or
                residing temporarily in another section of the country. It would be
                unconscionable not to recognize the obvious fact that the Secret
                Service does not presently possess adequate Federal authority
                during these most vulnerable occasions. This body cannot ignore
                the obvious responsibility and duty it has at this moment to create
                the needed protection and authority.

116 Cong. Rec. 35,653 (statement of Sen. Hruska) (emphasis added).

        Following enactment, Treasury promulgated regulations governing restricted areas under

§ 1752 in Chapter IV, part 408 of title 31 of the Code of Federal Regulations. 31 C.F.R. §§ 408.1-

408.3. Section 408.1 stated that “the regulations governing access to such restricted areas where

the President or any other person protected by the Secret Service is or will be temporarily visiting

are promulgated pursuant to the authority vested in the Secretary of the Treasury by 18 U.S.C. §

1752.” 31 C.F.R. § 408.1. Part 408 provided many examples of the USSS, and no other agency,

exercising its power under § 1752 to set and define restricted areas. § 408.2(a)-(c). As for gaining


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lawful access to areas restricted under § 1752, Part 408 was clear that authorization must be

obtained from the Secret Service. § 408.3. No other federal agency was mentioned in Part 408.

                2.     The current version § 1752
        In its current version, Section 1752 criminalizes “knowingly enter[ing] or remain[ing] in

any restricted building or grounds without lawful authority to do so.” 18 U.S.C. § 1752(a)(1). It

also criminalizes,

                knowingly, and with intent to impede or disrupt the orderly conduct
                of Government business or official functions, engag[ing] in
                disorderly or disruptive conduct in, or within such proximity to, any
                restricted building or grounds when, or so that, such conduct, in fact,
                impedes or disrupts the orderly conduct of Government business or
                official functions. . .

§ 1752(a)(2).

       In turn, “restricted building or grounds” is statutorily defined. In Section 1752,

       (1) the term “restricted building or grounds” means any posted, cordoned off, or
       otherwise restricted area—

       (A) of the White House or its grounds, or the Vice President’s official residence or its
       grounds;
       (B) of a building or grounds where the President or other person protected by the Secret
       Service is or will be temporarily visiting; or
       (C) of a building or grounds so restricted in conjunction with an event designated as a
       special event of national significance;
18 U.S.C. § 1752(c)(1).

       The first two subparts of Section 1752(c) concern individuals protected by the USSS. In

subpart (A) those individuals are the President (at the White House) and the Vice President (at his

or her official residence). In subpart (B) the individual protected by the Secret Service is the

President or “other person protected by the Secret Service.” Members of Congress are not

protected by the Secret Service. 18 U.S.C. § 3056(a) (setting forth persons USSS is “authorized to


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protect”). Protection of Congressmen and Senators is the role of a separate federal agency, the

United States Capitol Police. The U.S. Capitol Police do not provide for the protection of Secret

Service protectees.      See United States Capitol Police: Our Mission, available at:

https://www.uscp.gov/; § 3056(a).

       The final Section 1752(c) subpart concerns “a building or grounds so restricted in

conjunction with an event designated as a special event of national significance.” “Designation”

in this subpart refers to a specific federal agency process. Major federal government or public

events that are nationally significant may be designated by the President—or his representative,

the Secretary of the Department of Homeland Security (DHS)—as National Special Security

Events (NSSE). 18 U.S.C. § 3056(e)(1). Section 3056 designates the USSS as the lead federal

agency responsible for coordinating, planning, exercising and implementing security for NSSEs.

Id. 1 Accordingly, all three subparts of 18 U.S.C. § 1752(c)(1) concern decision-making authority

or action by the Secret Service.

       Section 3056 sets forth the “Powers, authorities, and duties of United States Secret

Service.” 18 U.S.C. § 3056. Subsection (d) criminalizes interfering with agents “engaged in the

protective functions authorized by this section or by section 1752 of this title. . .” 18 U.S.C. §

3056(d) (emphasis added). Subsection (g) stresses the independence of the Secret Service’s

mission. “The United States Secret Service shall be maintained as a distinct entity within the

Department of Homeland Security. . . No personnel and operational elements of the United States

Secret Service shall report to an individual other than the Director of the United States Secret


1
 The joint session of Congress that met at the U.S. Capitol on January 6, 2021, to open, certify,
and count the November 2020 presidential election votes was not designated an NSSE. National
Special Security Events: Fact Sheet, Jan. 11, 2021, p. 1, Congressional Research Service,
available at: https://fas.org/sgp/crs/homesec/R43522.pdf.



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Service, who shall report directly to the Secretary of Homeland Security without being required to

report through any other official of the Department.” 18 U.S.C. § 3056(g).

       C.      The Indictment
       The Indictment charges Bozell with the following offenses relevant to this Motion:

       Count One: corruptly obstructing, influencing, and impeding an “official proceeding,”

that is, a proceeding before Congress, specifically, “Congress’s certification of the Electoral

College vote” in violation of § 1512(c)(2).

       Counts Three and Four: unlawfully and knowingly entering “a restricted building and

grounds, that is, any posted, cordoned off, and otherwise restricted area within the United States

Capitol and its grounds, where the Vice President and Vice President-elect were temporarily

visiting,” in violation of § 1752(a)(1), and engaging in disorderly and disruptive conduct that in

fact disrupted the orderly conduct of government business while in that restricted area, in violation

of § 1752(a)(2).

                                          ARGUMENT

  I.   Standard for a Rule 12(b) motion to dismiss an indictment

       Rule 7 of the Federal Rules of Criminal Procedure provides that “the indictment or

information must be a plain, concise, and definite written statement of the essential facts

constituting the offense charged . . .” Fed. R. Crim. P. 7(c)(1). This rule performs several

constitutionally required functions, including protecting against prosecution for crimes based on

evidence not presented to the grand jury, as required by the Fifth Amendment. See, e.g., United

States v. Walsh, 194 F.3d 37, 44 (2d Cir. 1999). Rule 12 provides that a defendant may move to

dismiss the pleadings on the basis of a “defect in the indictment or information,” including a “lack

of specificity” and a “failure to state an offense.” Fed. R. Crim. P. 12(b)(3)(B)(iii),(v). It also


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permits such a motion on the basis of a “defect in instituting the prosecution,” including “an error

in the grand-jury proceeding.” Fed. R. Crim. P. 12(b)(3)(A)(v). Hamling v. United States, 418 U.S.

87, 117-18 (1974) (an indictment must “fairly inform[] a defendant of the charge against which he

must defend” and “must be accompanied with such a statement of the facts and circumstances as

will inform the accused of the specific offence, coming under the general description, with which

he is charged”).

 II.    The Section 1512(c)(2) count should be dismissed

            A. The Indictment fails to state a § 1512(c)(2) offense.

                1.        Congress’s power of “Certification of the Electoral College vote” pursuant
                          to 3 U.S.C. § 15 violates the express terms of the Twelfth Amendment.
        The Twelfth Amendment to the United States Constitution provides the sole legitimate

process for receiving and counting the votes of the Electoral College. It does not require or suggest

a “Joint Session” of Congress. The Amendment provides, in pertinent part:

                . . . . The President of the Senate shall, in the presence of the Senate
                and House of Representatives, open all the certificates and the votes
                shall then be counted; the person having the greatest number of votes
                for President, shall be the President, if such number be a majority of
                the whole number of electors appointed; [Emphasis added.]

        The only reference to Congress is that the opening of “certificates” received from the

individual states shall be done “in the presence of” Congress. The members of Congress are

witnesses, not participants, of the procedure set forth in the Twelfth Amendment. If a person

receives a majority of the whole of all votes cast by Electors that person is President without any

participation --- or “certification” – by the House and/or Senate to determine that fact. The House

and Senate are called into action by the Twelfth Amendment only if no person receives a majority

of the electors’ votes.



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       The process of “certifying” the Electoral College vote only appears in 3 U.S.C. Sec 15.

This is part of the process Congress created for itself, granting members the authority to “object”

to electoral vote “certificates” sent from each state, and then voting amongst themselves whether

or not to allow some Electoral votes reflected on the certificates to be included in the final count.

       This “solemn” and “formal” – and unconstitutional – process which the government relies

upon to claim that Bozell “corruptly obstructed” an “official proceeding”. The language employed

in the Count One of the Indictment makes this clear:

               “. . . Leo Brent Bozell IV… with others known and unknown,
               forcibly entered the United States Capitol to, and did, stop, delay,
               and hinder Congress’s certification of the Electoral College vote.”
       The Twelfth Amendment was ratified by the required number of States in 1804. The

Twelfth Amendment itself has never been amended through the same process under Article V

since 1804.

       In 3 U.S.C. § 15 Congress created statutory processes and procedures for participating in

the counting of Electoral College votes that are contrary to and in conflict with the Twelfth

Amendment. Congress created for itself a procedure which includes the authority to invalidate

Electoral Votes received from the States and engage in a process for selecting the President and

Vice-President not provided for in provisions of the Twelfth Amendment.

       The express provisions of § 15 which conflict read as follows:

       1.      “Upon such reading of any such certificate or paper, the President of the Senate
               shall call for objections, if any.”

       The Twelfth Amendment gives no power to the President of the Senate to call for

“objections” to votes as received. The President of the Senate is directed by the Constitution only

to open the certificates received and count the votes.



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       2.      “Every objection shall be made in writing, and shall state clearly and concisely, and
               without argument, the ground thereof, and shall be signed by at least one Senator
               and one Member of the House of Representatives before the same shall be
               received.”

       The Twelfth Amendment gives no authority to Members of the House or Senate to object

to Electoral Vote Certificates received.

        3.     When all objections so made to any vote or paper from a State shall have been
               received and read, the Senate shall thereupon withdraw, and such objections shall
               be submitted to the Senate for its decision; and the Speaker of the House of
               Representatives shall, in like manner, submit such objections to the House of
               Representatives for its decision; and no electoral vote or votes from any State
               which shall have been regularly given by electors whose appointment has been
               lawfully certified to according to section 6 of this title from which but one return
               has been received shall be rejected, but the two Houses concurrently may reject
               the vote or votes when they agree that such vote or votes have not been so
               regularly given by electors whose appointment has been so certified. [Emphasis
               added.]

       There is no provision of the Constitution, in the Twelfth Amendment or elsewhere,

that confers upon Congress the authority to reject the casting or counting of any Electoral

Votes cast by members of the Electoral College.

       The procedures set forth in the § 15 continue in similar fashion for several more

sentences, all equally unconstitutional as the passages highlighted above. All are facially

unconstitutional as they assign to Congress, via statute, authority on matters that are

expressly governed by the Constitution.

       The fact that § 15 has never before been challenged is of no import, and it is not a

basis for this Court to avoid addressing such a challenge. As Justice Sutherland wrote for

a unanimous Supreme Court in Massachusetts v. Mellon, 262 U.S. 447, 488 (1923):




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               “We have no power per se to review and annul acts of Congress on
               the ground that they are unconstitutional. That question may be
               considered only when the justification for some direct injury
               suffered or threatened, presenting a justiciable issue, is made to rest
               upon such an act. Then the power exercised is that of ascertaining
               and declaring the law applicable to the controversy. It amounts to
               little more than the negative power to disregard an unconstitutional
               enactment… .

       This Court should not avoid this direct attack on the constitutionality of § 15 as it relates

to the express language of the Twelfth Amendment.            If § 15 is unconstitutional, then the

“certification” that Bozell is alleged to have “corruptly obstructed” was not a lawful and legitimate

“official proceeding” as contemplated by § 1512(c)(2).

       The truth is that the § 15 is treated by most constitutional scholars as a so-called non-

binding internal House rule given statutory form. That is for two reasons. First, under the

constitutional principle of “legislative entrenchment,” one legislature cannot bind a future

legislature, i.e., purport to pass legislation that a future Congress cannot amend. See, e.g., United

States v. Winstar Corp., 518 U.S. 839, 872 (1996). And, second, the ECA purported not only to

bind future Congresses with legislation but to do so on the subject of parliamentary procedure,

over each Congress’s constitutional power to set its own rules. U.S. Const. Art. I, § 5, cl. 2 (“each

House may determine the Rules of its Proceedings.”) (the “Rulemaking Clause”). Consequently,

the ECA is generally interpreted as a hortatory House internal rule in statutory form, in order to

avoid the serious constitutional questions, it raises. Is the Electoral Count Act Unconstitutional?,

Vasan Kesavan, 80 N.C.L. Rev. 1653, 1793 (2002).

       The implications of the government’s novel attempt to import the federal obstruction

statutes into Congress’s self-governing election rules, and vice versa, are enormous. Consider the

government’s claim that one “corruptly” obstructs the Electoral College vote certification by


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delaying it “wrongfully.” According to the government, Democratic presidential candidate Al

Gore, and everyone who facilitated his statewide recount of Florida votes during the 2000

presidential election (co-conspirators), was guilty of obstruction of an “official proceeding.” They

are all guilty, according to the government because (1) they attempted to delay the Electoral

College vote certification by insisting on statewide recounts of ballots; and (2) they acted

“wrongfully” (thus, “corruptly”) because the recounts they engineered violated the Equal

Protection Clause rights of voters by valuing their votes less than others.’ Bush v. Gore, 531 U.S.

98, 104 (2000). Or consider the members of Congress who objected on January 6 to vote

certification for certain States. They are guilty of obstruction of an “official proceeding,” and they

are all felons, because (1) they delayed the vote certification; and (2) they acted “wrongfully”

because, after all, there was no recognized legal basis for objecting that the vote counts in those

States were fraudulent to a degree overbalancing proper vote tallies.

       The government’s interpretation of “official proceeding” (and of “corruptly,” addressed

infra) requires the Court to first answer nonjusticiable political questions. See Baker v. Carr, 369

U.S. 186, 82 S. Ct. 691 (1962); see also Luther v. Borden, 48 U.S. 1 (1849) (holding courts could

not decide whether the defendant trespassed during an insurrection as that would first require

deciding the political question whether the Royal Charter government of Rhode Island satisfied

the Constitution’s republican form of government guarantee). The political question doctrine is a

facet of the separation of powers. Under Baker, “an issue is non-justiciable if ‘prominent on the

surface’ of that issue one finds:

               [1] a textually demonstrable constitutional commitment of the issue
               to a coordinate political department; or [2] a lack of judicially
               discoverable and manageable standards for resolving it; or [3] the
               impossibility of deciding without an initial policy determination of
               a kind clearly for nonjudicial discretion . . .



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United States v. Rostenkowski, 59 F.3d 1291, 1304 (D.C. Cir. 1995) (quoting Baker, 369 U.S. at
217).

        The D.C. Circuit has paid close attention to the political question doctrine in cases where

criminal prosecutions turn on interpretation of ambiguous House rules. “[T]he Rulemaking Clause

of Article I clearly reserve to each House of the Congress the authority to make its own rules and

judicial interpretation of an ambiguous House Rule runs the risk of the court intruding into the

sphere of influence reserved to the legislative branch under the Constitution.” Rostenkowski, 49

F.3d at 1306. Added the D.C. Circuit, where “a court cannot be confident that its interpretation is

correct, there is too great a chance that it will interpret the Rule differently than would the Congress

itself; in that circumstance, the court would effectively be making the Rules—a power that the

Rulemaking Clause reserved to each House alone.” Id.

        As noted, the ECA is treated as a non-binding internal House rule given statutory form, to

avoid constitutional conflict with the Rulemaking Clause and the legislative anti-entrenchment

principle. Winstar Corp., 518 U.S. at 872; Kesavan, 80 N.C.L. Rev. 1653, 1793. Moreover, as

certain Justices and many legal observers have noted over the years, the ECA’s legislative history

is littered with indications that Congress did not intend for any role for federal courts in the

interpretation of the ECA. See, e.g., Gore, 531 U.S. at 153-54 (noting that the ECA’s legislative

history “makes clear its intent to commit the power to resolve disputes [about the meaning of ECA]

to Congress,” citing House reports and congressional record) (Breyer, J., dissenting).

        Yet, here, the government relies, almost exclusively, on this Court imposing a judicial gloss

on the ECA’s notoriously opaque House procedures, in order to establish an “official proceeding”

under Section 1512. SI, Count One. It also relies on this Court to define Congress’s constitutional

powers and duties concerning the Electoral College vote count under the Twelfth Amendment—

an amendment so vague that Congress felt prompted to enact the (no less vague) ECA after the


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scandals of the Presidential election of 1876. Congress Sowed the Seeds of Jan. 6 in 1887: the

Electoral Vote Count Act lets Congress think it can choose the President, but it’s unconstitutional,

Judge J. Michael Luttig and David B. Rivkin, Jr., Wall Street Journal, Mar. 18, 2021, available at:

https://www.wsj.com/articles/congress-sowed-the-seeds-of-jan-6-in-1887-11616086776.            Judge

Luttig notes that, contrary to the government’s claim here that the ECA demonstrates Congress’s

decision-making discretion during the Electoral College vote count (which is supposed to show

that it was an adjudicative-type “official proceeding”), the ECA was enacted “largely to limit

Congress’s role in determining which electoral votes to accept” (emphasis added). ECA aside, the

former Fourth Circuit judge adds, “The Constitution’s Electors Clause gives state legislatures

plenary authority over the manner of choosing electors and relegates Congress to determining on

what day the Electoral College would cast its votes. The 12th Amendment, ratified in 1804,

reformed the Electoral College by providing for separate votes for president and vice president. It

also reiterates the Article I, Section 1 language that the certified state electoral results are to be

transmitted to Washington, opened by the president of the Senate, and counted in the presence of

both congressional houses. No constitutional provision empowers Congress to resolve disputes

over the validity of a state’s electoral slate—or for that matter addresses who is to resolve these

disputes. Significantly, the 12th Amendment gives Congress no power to enact legislation to

enforce its provisions. . . .” So: it is clear why the government relies on the ECA alone to establish

its adjudicative-type “official proceeding” point.

       Thus, the government’s “official proceeding” argument implicates the first three political

question factors under Baker: (1) there is “a textually demonstrable constitutional commitment of

the [Electoral College vote count] issue to a coordinate political department.” Baker, 369 U.S. at

217. The authority to determine the rules of Congress’s proceedings is given exclusively to



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Congress under the Rulemaking Clause, not the federal courts. U.S. Const. Art. I, § 5, cl. 2. In

any case, as Judge Luttig observes, neither the Electors Clause nor the 12th Amendment empowers

Congress to resolve disputes over the validity of a state’s electoral slate. As to the vice president’s

constitutional role in the Electoral College vote certification, Vice President Pence himself

correctly pointed out that the duties of the President of the Senate were “largely ceremonial,” i.e.,

not “adjudicative,” as the government (and former president) would have it. Ltr. of Vice President

Mike Pence, Jan. 6, 2021, available at: https://bit.ly/2WVy9s0. (2) The notoriously ambiguous

ECA offers “a lack of judicially discoverable and manageable standards for resolving” the “official

proceeding” question. Baker, 369 U.S. at 217. That is shown by the mismatch between the archaic

ECA procedures cited by the government and all the Section 1512 case law analyzed by the parties.

It is also demonstrated by the imponderables created by the government’s importation of House

rules into obstruction-of-justice jurisprudence, and vice versa, such as whether every person who

delays the vote count “wrongfully” (a hopelessly vague political question) is a felon; and (3) it is

impossible to decide the “official proceeding” question in the government’s favor “without an

initial policy determination” left to a coordinate political branch, Baker, 369 U.S. at 217, i.e., what

are the procedures permissible to Congress in counting and certifying Electoral College votes

under the Constitution and ECA?

        2.      The Electoral Vote count does not involve the “due administration of justice” and
                is not an “Official Proceeding” before the Congress
        Count One charges that Bozell attempted to, and did, obstruct, influence and impede an

“official proceeding,” namely, “Congress’s certification of the Electoral College vote as set out in

the Twelfth Amendment of the Constitution of the United States and §§ 15-18.” The first reason

this charge fails to state an offense is that the Electoral College vote in Congress is not an “official




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proceeding,” as it is not one with a truth-seeking function carrying the threat of a penalty, i.e.,

administering justice.

       Every time the government has attempted to give any Chapter 73 “proceeding” a meaning

other than the business of a legal tribunal, it has failed. In United States v. Ermoian, 752 F.3d

1165 (9th Cir. 2013), for example, the government argued that an FBI investigation qualified as

an “official proceeding” under § 1512(c). The Court will notice that an FBI investigation arguably

has a greater claim to being an “official proceeding” than the Electoral College vote count, as it is

at least an investigation. Yet the Ninth Circuit rejected the government’s argument for the

following reasons:

       •       Section 1512’s descriptor “official” indicates a sense of formality associated with
               “legal proceedings.” 752 F.3d at 1169 (emphasis added).

       •       The word “proceeding” in § 1515(a)(1) is “surrounded with other words that
               contemplate a legal usage of the term, including ‘judge or court,’ ‘federal grand
               jury,’ ‘Congress,’ and ‘federal government agency.’” Id. (emphasis added).

       •       Legal dictionaries define “proceeding” as “‘a word much used to express the
               business done in courts.’” Id. (quoting Black’s Law Dictionary 1241 (8th ed. 2004))
               (emphasis original).

       •       The “use of the preposition ‘before’ suggests an appearance in front of [a body]
               sitting as a tribunal.” Id. at 1171 (emphasis added).

       •        “Section 1512 refers to ‘prevent[ing] the attendance or testimony of any person in
               an official proceeding’; ‘prevent[ing] the production of a record, document, or other
               object, in an official proceeding’; and ‘be[ing] absent from an official proceeding
               to which that person has been summoned by legal process.’ 18 U.S.C. §
               1512(a)(1)(A)-(B), (a)(2)(B)(iv). The use of the terms ‘attendance,’ ‘testimony,’
               ‘production,’ and ‘summon[]’ when describing an official proceeding strongly
               implies that some formal hearing before a tribunal is contemplated.” Id. at 1172
               (emphasis added).

       The Court will notice that all of these points apply with equal force to Section 1515(a)(1)’s

“a proceeding before the Congress,” and that § 1512(c) refers to the “impair[ment] [of an] object’s



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integrity or availability for use in an official proceeding,” § 1512(c)(1), which also “strongly

implies that some formal hearing before a tribunal is contemplated.” Ermoian, 752 F.3d at 1172

(emphasis added).

       Equally telling is United States v. Kelley, 36 F.3d 1118 (D.C. Cir. 1994). Kelley is

significant not only because it is binding D.C. Circuit law, but because it concerned charges under

both §§ 1505 and 1512, affording an opportunity for the court of appeals to find determinative

distinctions between them, if any. The “proceeding” at issue was an investigation conducted by

the Officer of the Inspector General at the Agency for International Development. The first thing

to notice in Kelley is that the government stipulated and agreed that § 1505’s “proceeding” should

be construed the same as § 1512’s “official proceeding.” Kelley, 36 F.3d at 1128. That prompted

the D.C. Circuit to premise part of its decision on that basis. Id. The second thing to notice: the

D.C. Circuit determined that the investigation at issue constituted a “proceeding” because (1) other

§ 1505 cases cited by the D.C. Circuit involved agency investigations “with some adjudicative

power” or with “the power to enhance their investigations through the issuance of subpoenas or

warrants”; and (2) the IG in the AID investigation at issue was “empowered to issue subpoenas

and to compel sworn testimony in connection with an investigation. . .” Kelley, 36 F.3d 1118 at

1127 (emphasis added). 2      Thus, it is binding D.C. Circuit law that Section 1512/1505

“proceedings” at the very least entail a baseline investigation (though, as seen in Ermoian, the

courts often require more than that).




2
  Kelley relied on these authorities: United States v. Sutton, 732 F.2d 1483, 1490 (10th Cir. 1984)
(Department of Energy investigation including issuance of administrative subpoena was
proceeding under § 1505); United States v. Vixie, 532 F.2d 1277, 1278 (9th Cir. 1976) (IRS
investigation including issuance of subpoena was a proceeding under § 1505); United States v.
Batten, 226 F. Supp. 492, 493 (D.D.C. 1964) (SEC investigation with authority to issue subpoenas
and administer oaths was “proceeding” under § 1505).
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       The point is underscored by the D.C. Circuit’s decision in Poindexter. As noted above,

Poindexter determined that the legislative history of § 1505 shows that it was designed to prevent

obstruction of only those proceedings held pursuant to Congress’s investigative power.

Poindexter, 951 F.2d at 380-81.

       Every other circuit decision construing a Chapter 73 “proceeding” is in accord with

Ermoian, Kelley, and Poindexter. See United States v. Ramos, 537 F.3d 439 (5th Cir. 2008)

(holding that a federal agency’s internal investigation was not a Section 1512 “official proceeding”

because that phrase “is consistently used throughout § 1512 in a manner that contemplates a formal

environment in which people are called to appear or produce documents”) (emphasis added);

United States v. Perez, 575 F.3d 164 (2d Cir. 2009) (holding that BOP panel investigation was a

Section 1512 “official proceeding” because “the review panel must ‘determine’ if there has been

a violation of BOP policy, must make ‘findings,’ and may ‘decide’ to refer the matter to senior

departmental authorities . . .”) (emphasis added).

       Before January 6, the government adopted Bozell’s interpretation of Section 1512. To this

day, the DOJ’s Resource Manual instructs prosecutors that there is no difference between a Section

1505 “proceeding” and an “official proceeding” in Section 1512. DOJ Resource Manual, § 1730

(“This definition [of ‘proceeding’ in § 1512] is in large part a restatement of the judicial

interpretation   of   the   word   ‘proceeding’        in   §   1503   and   1505.”),   available   at:

https://www.justice.gov/archives/jm/criminal-resource-manual-1730-protection-government-

processes-official-proceeding-requirement. 3      Indeed, as recently as three years ago, the

government argued in federal courts that the meaning of “official proceeding” in § 1512(c) is



3
 The DOJ Manual clarifies that the only difference between “proceeding” in § 1505 and “official
proceeding” in § 1512 is that the latter “does away with the pending proceeding requirement,”
which has nothing to do with the government’s argument. DOJ Resource Manual, § 1730.
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“limited to quasi-adjudicative investigations or inquiries that involve the making of findings of

fact and the issuance of rulings or recommendations for government action.” United States v.

O’Connell, 2017 U.S. Dist. LEXIS 172491, *14 (E.D. Wis. Sept. 5, 2017) (summarizing DOJ’s

interpretation of § 1512(c)).

       The government concedes the Electoral College vote count on January 6 was not an inquiry

or investigation. See, e.g., United States v. William Pepe, 21-cr-52, ECF No. 55, p. 8 n.3 (D.D.C.

2021) (“[T]he certification of the Electoral College vote is not an ‘inquiry or investigation.’”).

Instead, it relies exclusively on the provisions of the Electoral Count Act of 1887 (ECA). SI,

Count One (citing 3 U.S.C. §§ 15-18). Congress’s role in certifying Electoral College votes is of

“grave significance,” it observes. The ECA’s provisions, it adds, create a procedure for members

of Congress to object to the certification of Electoral College votes. See, e.g., 3 U.S.C. § 16. So,

just as a judge and legal parties occupy specific locations in a courtroom, so too do members of

Congress in the “Hall.” Id. The ECA, the government continues, specifies where desks should be

placed in the “Hall.” Id. In sum, the Electoral College vote count is an “official proceeding”

because of the solemnity—but also the furniture.

       To be clear: before January 6, the government never charged “obstruction of a

congressional proceeding,” under any statute, where the “proceeding” was not an investigation or

inquiry. No court has found an “official proceeding” based on congressional solemnity and

furniture alone. The ECA procedures identified by the government do not concern the “back and

forth between citizens and government” within which zone the obstruction statutes aim to prevent

the former’s impairment of information bearing on the latter’s decision-making. United States v.

Sutherland, 921 F.3d 421, 426 (4th Cir. 2019) (Wilkinson, J.). They do not perform a truth-seeking

function carrying the threat of a penalty, i.e., they do not concern the administration of justice.



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Arthur Andersen LLP v. United States, 544 U.S. 696, 703 (2005) (“Chapter 73 of Title 18 of the

United States Code provides criminal sanctions for those who obstruct justice.”).

        So contorted are the legal arguments required to arrive at its predetermined outcome that

the government finds itself lost in its own positions. Because the Electoral College vote count

plainly does not concern obstruction “of justice,” it has fallen back on the claim that Section 1512

does not require impeding “justice,” merely obstruction of an “official proceeding.” See, e.g.,

United States v. Brady Knowlton, 21-cr-46, ECF No. 41, pp. 12-13 (D.D.C. 2021) (Moss, J.)

(Government brief: “The ‘proceeding before Congress’ is not limited to proceedings solely related

to the administration of justice”). Yet it did not realize, or care, that in that case, the Frankenstein

offense it tries to create cannot be properly sentenced under the U.S. Sentencing Guidelines. For

the Guidelines indicate that a Section 1512 conviction is sentenced under USSG §2J1.2—entitled

“Obstruction of Justice.” And every single specific offense characteristic under §2J1.2 requires

interference with “the administration of justice,” §2J1.2—a context that the government has

conceded is not present in the January 6 cases. Knowlton, 21-cr-46, ECF No. 41, pp. 12-13. 4




4
  The government advised the Court that it was insisting that Bozell stipulate to an 8-level
enhancement for obstructing “the administration of justice” by “causing or threatening to cause
physical injury to a person . . . .,” §2J1.2(b)(1)(B), and a 3-level enhancement for “substantial
interference with the administration of justice.” §2J1.2(b)(2). Thus does the government insist that
Bozell disagree with the government’s own position that this particular “obstruction of official
proceeding” does not involve “the administration of justice.”

A comparison of the penalty provisions in § 1505 and § 1512(c) demonstrates that Congress could
not have intended to give the latter the all-encompassing meaning pushed by the government here.
Section 1505 criminalizes the obstruction of a congressional “inquiry or investigation” by “threats
or force.” § 1505. The statutory maximum sentence is five years’ imprisonment. Id. By contrast,
the statutory maximum sentence under Section 1512(c) is 20 years’ imprisonment. § 1512(c).
According to the government, then, Congress views obstruction of its investigations by “threats
and force” far less seriously than it does obstruction of ceremonial proceedings by means short of
“threats and force.”


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       There are additional problems with the government’s claim that the Electoral College vote

certification is an “official proceeding” under the obstruction statutes.

       The equation of the joint session of Congress with a Chapter 73 “official proceeding” raises

additional political questions. The government centers its “official proceeding” argument on the

procedures of the joint session convened to certify Electoral College votes. Yet a full hour before

the first protester intrusion into the Capitol, the joint session had been suspended. 167 Cong. Rec.

H77 (Jan. 6, 2021). That is because, shortly before 1:15 p.m. Eastern Time, members of Congress

objected to the certificate from the State of Arizona. Id. As a result, the Vice President directed

“the two Houses [to] withdraw from the joint session.” Id. (emphasis added). What the January 6

protesters “obstructed” was not the joint session composed of both Houses, but instead separated

House deliberations on Republican objections to the Arizona certificate. As the ECA procedures

relied on by the government itself show, there was no possibility of the separated Houses

certifying, or not certifying, Electoral College votes before reconvening in the joint session. 3

U.S.C. § 15. The joint session reconvened at approximately 11:35 p.m. that day, with the Vice

President announcing the “resumption” of the joint session.

       The government asks the Court not only to declare the joint session an “official

proceeding” under the obstruction laws, but to find that, under the parliamentary rules of Congress

(either chamber? Both?), a joint session that “retired” and was “suspended” before, and not as a

result of, those intrusions, and that could not formally certify or decertify Electoral College

certificates, was also an “official proceeding.” For all of these reasons, Count One fails to allege

an offense under Section 1512(c)(2).

       3.      The government’s interpretation of § 1512(c)(2) conflicts with ejusdem generis
       Beyond the government’s misunderstanding of § 1512’s “official proceeding,” there are

other reasons Count One fails to state a Section 1512(c)(2) offense. Again, the “residual clause”
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in subpart (2) penalizes, “Whoever corruptly— (1) alters, destroys, mutilates, or conceals a

record, document, or other object, or attempts to do so . . .or (2) otherwise obstructs, influences,

or impedes any official proceeding. . .§ 1512(c) (emphasis added).

       “[E]jusdem generis counsels: Where general words follow specific words in a statutory

enumeration, the general words are usually construed to embrace only objects similar in nature to

those objects enumerated by the proceeding specific words.” Yates v. United States, 574 U.S. 528,

545 (2015) (cleaned up). In Yates, the Supreme Court showed that the SI misapplies § 1512(c),

an evidence impairment statute, to criminalize political protest at Congress. There, a fisherman

caught an undersized red grouper in the Gulf of Mexico, contrary to federal law. To prevent federal

authorities from finding out, he ordered a crew member to toss the catch into the sea. He was

charged with an obstruction offense under § 1519, which penalizes “Whoever knowingly alters,

destroys, mutilates, conceals, covers up, falsifies, or makes a false entry in any record, document,

or tangible object with the intent to impede, obstruct, or influence the investigation . . .” 574 U.S.

at 532 (quoting § 1519) (emphasis added). The Supreme Court reversed Yates’ conviction as the

term “tangible object” did not cover the grouper. Like Section 1512(c), Section 1519 was enacted

as part of the Sarbanes-Oxley Act of 2002. 574 U.S. at 532. To apply Section 1519 to sea

creatures, the Court held,

               would cut § 1519 loose from its financial-fraud mooring to hold that
               it encompasses any and all objects, whatever their size or
               significance, destroyed with an obstructive intent. Mindful that in
               Sarbanes-Oxley, Congress trained its attention on corporate and
               accounting deception and cover ups, we conclude that a matching
               construction of § 1519 is in order: A tangible object captured by §
               1519, we hold, must be one used to record or preserve information.

574 U.S. at 532 (emphasis added).




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       Nearly every aspect of Yates’ limitation of the phrase “tangible object” in Section 1519

applies to the phrase “or otherwise obstructs, influences, or impedes” in Section 1512(c)(2). As

in Yates, the government implies here that § 1512(c)(2) “extends beyond the principal evil

motivating its passage.” 574 U.S. at 536. But Yates held that Section 1519, a companion to §

1512(c)(2) in SOX, could not be properly read outside the context of SOX’s financial and audit

reforms. Id. at 541. The Court also held that “the words immediately surrounding ‘tangible object’

in § 1519—‘falsifies, or makes a false entry in any record [or] document]’—also cabin the

contextual meaning of that term.” Id. at 542. The noscitur a sociis canon thus operated to limit

“tangible object” to “the subset of tangible objects involving records or documents, i.e., objects

used to record or preserve information.” Id. at 544. And under the related ejusdem generis canon—

“[W]here general words follow specific words in a statutory enumeration, the general words are

usually construed to embrace only objects similar in nature to those objects enumerated by the

proceeding specific words”—“tangible object” could not be read “to capture physical objects as

dissimilar as documents and fish.” Id. at 546.

       In reaching that interpretation of § 1519, Yates relied on Begay v. United States, 553 U.S.

137, 142-43 (2008). Yates, 574 U.S. at 545. In Begay, the Court used ejusdem generis to determine

what crimes were covered by the statutory phrase “any crime . . . that . . . is burglary, arson, or

extortion, involves use of explosives, or otherwise involves conduct that presents a serious

potential risk of physical injury to another.” 553 U.S. at 142 (quoting 18 U.S.C. § 924(e)(2)(B)(ii))

(emphasis added). Begay held that the “otherwise involves” provision covered “only similar

crimes, rather than every crime that ‘presents a serious potential risk of physical injury to

another.’” Id. Had Congress intended the latter “all encompassing meaning,” “it is hard to see why

it would have needed to include the [preceding statutory] examples at all.” Id.



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       Yates and Begay mean that § 1512(c)(2)’s reference to acts that “otherwise obstruct[],

influence[], or impede[] any official proceeding,” covers “only similar crimes” to those

enumerated in § 1512(c)(1), i.e., “alter[ing], destroy[ing], mutilate[ing], or conceal[ing] a record,

document, or other object . . . with the intent to impair the object’s integrity or availability for use

in an official proceeding.” Had Congress intended the “or otherwise obstructs. . .” language to

create an unlimited obstruction catch-call crime, “it is hard to see why it would have needed to

include the examples [in § 1512(c)(1)] at all.” Yates, 553 U.S. at 142. Indeed, or why it would

have any need for the rest of the obstruction crimes in Chapter 73. Here, the SI’s obstruction

theory has nothing to do with the impairment of evidence. Rather, it contends Bozell violated §

1512(c)(2) by virtue of his physical presence per se inside a building. That underscores the

government’s attempt to transform the parading-in-Congress misdemeanor offense into felony

obstruction. 40 U.S.C. § 5104(e)(2)(G). Section 5104(e)(2)(G) makes it a misdemeanor to

“parade, demonstrate, or picket in any of the Capitol Buildings.” Id. If Section 1512(c)(2) reaches

“obstructive” conduct that has nothing to do with evidence impairment, such as appearing in the

Capitol without permission, there is no conceptual distinction between the Title 40 misdemeanor

offense carrying a 6-month sentencing maximum and a felony Section 1512 offense carrying a 20-

year statutory maximum. For if one “parades” or “demonstrates” inside the Capitol, one is by

definition “obstructing,” “impeding,” or “influencing” Congress or attempting to do so.

       Recently, Judge Moss stated in a January 6 case that he was concerned by the lack of any

limiting principle in applying Section 1512(c)(2) in a way that would swallow the rest of Chapter

73. Montgomery, 21-cr-46, 8/3/21 Hr’g (D.D.C. 2021) (Moss, J.). Judge Moss is right: the Section

1512(c)(2) charge here does not state an offense because it does not concern the impairment or

availability of evidence.



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       B.      If the government’s interpretation of § 1512(c)(2) is applied, it is
               unconstitutionally vague as to Bozell

       A criminal statute is unconstitutionally vague if it “‘fails to give ordinary people fair notice

of the conduct it punishes, or [is] so standardless that it invites arbitrary enforcement.’” United

States v. Bronstein, 849 F.3d 1101, 1106 (D.C. Cir. 2017) (quoting Johnson v. United States, 576

U.S. 591, 595 (2015)). “[T]he touchstone is whether the statute, either standing alone or as

construed, made it reasonably clear at the relevant time that the defendant’s conduct was criminal.”

United States v. Lanier, 520 U.S. 259, 67 (1997). In addition, if the law at issue “interferes with

the right of free speech or of association, a more stringent vagueness test [] appl[ies].” Hoffman

Estates v. Flipside, Hoffman Estates, 455 U.S. 489, 500 (1982). If the government’s novel

interpretation of § 1512(c)(2) is applied here, it is unconstitutionally vague for the following

reasons.

               1.      § 1512(c)(2) does not provide fair notice that “official proceedings”
                       includes proceedings unrelated to the administration of justice

       As indicated above, § 1512(c)(2) has never been used to prosecute a defendant for the

obstruction of an “official proceeding” unrelated to the administration of justice, i.e., a proceeding

not charged with hearing evidence and making factual findings. Moreover, there is no notice,

much less fair notice, in § 1512(c)(2) or in any statute in Chapter 73 that a person may be held

federally liable for obstructing a proceeding in a way that does not interfere with the availability

or integrity of evidence. Accordingly, the government’s interpretation of § 1512(c)(2) here is void-

for-vagueness as applied to Bozell.

       In this case, the void-for-vagueness doctrine’s function of guarding against arbitrary or

discriminatory law enforcement is worth elaborating. As Justice Gorsuch memorably put it in a

Dimaya concurrence,

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                Vague laws invite arbitrary power. Before the Revolution, the crime
                of treason in English law was so capaciously construed that the mere
                expression of disfavored opinions could invite transportation or
                death. The founders cited the crown’s abuse of ‘pretended’ crimes .
                . .as one of their reasons for revolution. . . Today’s vague laws may
                not be as invidious, but they can invite the exercise of arbitrary power
                all the same—by leaving the people in the dark about what the law
                demands and allowing prosecutors and courts to make it up.

Sessions v. Dimaya, 138 S. Ct. 1204, 1223-24 (2018).

        The concern about vagueness-enabled arbitrary enforcement is manifested here. It takes

two forms, which might be called specific and general arbitrariness. At a general level, the

government’s enforcement of § 1512(c)(2) against Bozell is arbitrary because, prior to January 6,

the government had never charged “obstruction of a congressional proceeding,” under any statute,

where the “proceeding” was not an investigation or inquiry. Accordingly, the government’s

election to put a new interpretation on the statute for a select group of related cases raises questions

about discriminatory law enforcement. Those questions are only underlined by the patently

political nature of the circumstances of the offense, as well as the criminalization of Bozell’s First

Amendment rights to political speech, assembly, and to petition the government for a redress of

grievances. U.S. Const. amend I; Hoffman Estates, 455 U.S. at 500.

        Perhaps more serious is the specific arbitrariness enabled by the government’s vague

interpretation. Hundreds of January 6 defendants entered the Capitol Building, many of whom

made statements about their intent to demonstrate against Congress inside the building. Yet some

are charged with traditional misdemeanor “parading” offenses under Title 40 carrying six-month

maximum sentences, while others are charged with felony obstruction carrying a 20-year

maximum. Consider United States v. Kevin Cordon, 21-cr-277 (D.D.C. 2021). Cordon was

charged with obstruction of an official proceeding under Section 1512(c)(2). His criminal

complaint shows that he entered the Capitol Building and, after January 6, made a statement to the


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press giving direct insight into his intent. Among other things, he stated, in writing, that he entered

the Capitol to “take back our democratic republic. . .We’re not going to take this lying down. . .

We’re taking our country back. This is just the beginning.” 21-cr-277, ECF No. 1-1. Although

this “obstructive” intent is far more clearly demonstrated than anything Bozell said, the

government dropped its obstruction charge against Cordon.

       Similarly, in another recent case, the Chief Judge raised questions about the supposed

conceptual difference between a misdemeanor “parading in the Capitol” offense and felony

“obstruction” of Congress. United States v. Glenn Wes Lee Croy, 21-cr-162 (D.D.C. 2021). The

government’s plea agreement with Croy, who entered the Capitol Building, concerned a

misdemeanor parading offense. But if Croy did not intend to impede or influence Congress, Chief

Judge Howell observed, what was the purpose of the “parading, demonstrating, or picketing”

inside the Capitol Building? The Chief Judge was right. Only, the implication is not that the

traditional misdemeanor offense should yield to the newly created felony, but that the latter is

merely a misdemeanor masquerading as a felony. Insofar as it alleges that Bozell obstructed a

type of “official proceeding” nowhere identified in §§ 1512(c)(2) and 1515 and alleges a crime

conceptually indistinguishable from a misdemeanor parading offense, Count One must be

dismissed under the Due Process Clause of the Fifth Amendment.

               2.      The government’s interpretation of “corruptly” fails this Circuit’s
                       Poindexter test
       In United States v. Poindexter, a former U.S. national security advisor was charged under

§ 1505 for obstructing a congressional investigation into the Iran/Contra affair. 951 F.2d 369, 371

(D.C. Cir. 1991). The defendant’s obstruction consisted of lying to or misleading Members of the

House and Senate Intelligence Committees about U.S. shipments of missiles to Iran. Id. at 372.

The relevant passage of § 1505 provided, “Whoever corruptly . . . . influences, obstructs, or

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impedes or endeavors to influence, obstruct or impede . . .the due and proper exercise of the power

of inquiry under which any inquiry or investigation is being had by either House, or any committee

of either House . . .shall be [punished]. . .” The court held that Poindexter’s lying to Congress,

while a violation of § 1001, was not an obstruction offense under § 1505.

       The D.C. Circuit arrived at that conclusion in the following way. First, it determined that

the adverb “corruptly” was vague. 951 F.2d at 379 (“Words like ‘depraved,’ ‘evil,’ ‘immoral,’

‘wicked,’ and ‘improper’ are no more specific—indeed they may be less specific—than

‘corrupt.’”). Searching for a way out of the mess, the court observed that the verb “corrupt” “may

be used transitively (‘A corrupts B,’ i.e., ‘A causes B to act corruptly’) or intransitively (‘A

corrupts,’ i.e., ‘A becomes corrupt, depraved, impure, etc.’).” 951 F.2d at 379. It similarly

determined that § 1505’s adverb “corruptly” could take on either a transitive or intransitive

meaning. Accordingly, to avoid the unconstitutional vagueness in a value-laden interpretation

(e.g., “immoral”), the court decided that § 1505 “favor[ed] the transitive reading.” Id. Thus, the

Poindexter court construed § 1505 “to include only ‘corrupting’ another person by influencing him

to violate his legal duty.” Id. The court further found that even that definition of “corruptly” may

suffer from unconstitutional vagueness where the defendant’s purpose is not “to obtain an

improper advantage for himself or someone else. . .” Id. at 385. The court gave this example of

congressional activity the adverb “corruptly” may not cover without vagueness problems:

               [S]omeone who influences another to violate his legal duty [but] to
               cause the enactment of legislation that would afford no particular
               benefit to him or anyone connected to him. Or, as the Chief Judge
               instanced at the oral argument of this case, there “would be some
               purposes that would be corrupt and some that wouldn’t be . . .
               Suppose the [defendant acted] to protect the historical reputation of
               some historical figure that has been dead for 20 years and he decides
               that he doesn’t want to mar that person’s reputation.”

Poindexter, 951 F.2d at 386.


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       As indicated above, following Poindexter Congress amended § 1515 to clarify that “As

used in Section 1505, the term ‘corruptly’ means acting with an improper purpose, personally or

by influencing another, including making a false or misleading statement, or withholding,

concealing, altering or destroying a document or other information.” § 1515(b) (emphasis added).

However, Congress did not amend § 1515 to define “corruptly” as used in § 1512. In addition, the

phrase “improper purpose” was held unconstitutionally vague in Poindexter. 951 F.2d at 379

(“Words like ‘depraved,’ ‘evil,’ ‘immoral,’ ‘wicked,’ and ‘improper’ are no more specific—indeed

they may be less specific—than ‘corrupt.’”).

       Poindexter is still good law in this circuit. United States v. Morrison, 98 F.3d 619, 630

(D.C. Cir. 1996) (affirming § 1512 conviction because the defendant had committed “transitive”

corruption in the Poindexter sense by persuading a witness to violate their legal duty to testify

truthfully in court); see also United States v. Kanchanalak, 37 F. Supp. 2d 1, 4 (D.D.C. 1999)

(Friedman, J.) (finding that even after Congress amended § 1515 in the wake of Poindexter to

define “corruptly” for purposes of § 1505, § 1515’s definition of “corruptly” to mean acting with

an “improper purpose” is still unconstitutionally vague under Poindexter).

       More broadly, the most widely accepted definition of “corrupt” intent, as understood in the

obstruction statutes, is acting with the intent to obtain an improper advantage for oneself or an

associate. United States v. North, 910 F.2d 843, 882, 285 U.S. App. D.C. 343 (D.C. Cir.

1990), opinion withdrawn and superseded in other part on reh'g, 920 F.2d 940, 287 U.S. App.

D.C. 146 (D.C. Cir. 1990) (holding that a “corrupt” intent means “the intent to obtain an improper

advantage for oneself or someone else. . .”); United States v. Kelly, 147 F.3d 172, 176 (2d Cir.

1998) (“[A] well-accepted definition of corruptly” is “to act with the intent to secure an unlawful

advantage or benefit either for one’s self or for another”); United States v. Dorri, 15 F.3d 888, 895



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(9th Cir. 1994) (holding that “corruptly” element was satisfied by evidence that defendant acted

“with a hope or expectation of [a] benefit to one’s self”); United States v. Popkin, 943 F.2d 1535,

1540 (11th Cir. 1991) (“Corruptly” means “done with the intent to secure an unlawful benefit

either for oneself or another”); United States v. Reeves, 752 F2d 995, 1001 (5th Cir. 1985) (“To

interpret ‘corruptly’ [in obstruction statute] as meaning ‘with an improper motive or bad or evil

purpose’ would raise the potential of overbreadth’ in this statute because of the chilling effect on

protected activities. . . Where ‘corruptly’ is taken to require an intent to secure an unlawful

advantage or benefit, the statute does not infringe on first amendment guarantees and is not

‘overbroad.’”).

       In the January 6 cases, the government has made clear that by “corruptly” it means nothing

more than “wrongfully”—a term it declines to define with any precision. As Judge Moss recently

observed, that is likely unconstitutionally vague in this circuit under Poindexter and North. And

as Bozell noted above, a definition as vacuous as “wrongfully” would, among other things, render

Al Gore a felon for organizing vote recounts in the 2000 presidential election. The government’s

interpretation also contributes to the collapse of any distinction between a misdemeanor parading-

in-Congress offense and felony obstruction of an official proceeding, as its understanding of

“corruptly” means nothing more than the intent to impede or influence. Because the SI does not

allege that Bozell “obstructed” the joint session by ‘corrupting’ another person by influencing him

to violate his legal duty,” Poindexter, 951 F.2d at 385, or that Bozell somehow acted to gain a

material advantage for himself or an associate, it either fails to state a Section 1512(c) offense or

alleges an unconstitutionally vague one.

       C.      The rule of lenity dictates that any ambiguities in § 1512(c)(2) be resolved in
               Bozell’s favor



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       Even if § 1512(c)(2) is not unconstitutionally vague as applied to Bozell, any ambiguities

in the statute should be resolved in his favor under the rule of lenity. Under that principle, “where

text, structure, and history fail to establish that the government’s position is unambiguously

correct,” courts must “apply the rule of lenity and resolve the ambiguity in [the defendant’s] favor.”

United States v. Granderson, 511 U.S. 39, 54 (1994).

       Here, even if the Court decides that the government’s interpretation of § 1512(c)(2) is

correct—i.e., that “official proceedings” of Congress include those which are not held pursuant to

its investigatory power, that § 1512(c)(2) applies outside the context of the impairment of

evidence, and that “corruptly” includes a disinterested but mistaken purpose—it is plainly not

unambiguously so.      That is shown by the lack of any case law supporting the government’s

interpretations, by the legislative history which tells against those interpretations, and by the text

and structure not just of § 1512(c) but of all sections of Chapter 73.

        Because the government’s interpretations are not unambiguously correct, the Court is

required to resolve any ambiguities in Bozell’s favor by dismissing Count One. Granderson, 511

U.S. at 54; Santos, 553 U.S. at 515.

       D.      The novel construction principle of the Due Process Clause requires rejection
               of the government’s interpretation, which would operate as an ex post facto
               law

       Because no court has construed § 1512(c)(2) as the government does in this case, to

retroactively apply that construction against Bozell in this matter would violate the novel

construction principle of the Due Process Clause of the Fifth Amendment. Bouie v. City of

Columbia, 378 U.S. 347, 353 (1964). “[A]n unforeseen judicial enlargement of a criminal statute,

applied retroactively, operates precisely as an ex post facto law, such as Art. I, § 10, of the

Constitution forbids.” Id. If a “legislature is barred by the Ex Post Facto Clause from passing such


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a law, it must follow that a [court] is barred by the Due Process Clause from achieving precisely

the same result by judicial construction.” Id.

       Bouie also concerned a trespass prosecution that gave indications of being politically

motivated. The 1964 case involved a combination drugstore and restaurant in South Carolina. The

establishment would not serve black Americans. Two black college students took seats in the

restaurant. After they entered, an employee hung up a “no trespass” sign. The store manager

called the police, who asked the students to leave. When they refused, they were arrested and

charged with trespass. The students were tried and convicted, with the State Supreme Court

upholding the trespass convictions. The Supreme Court vacated the convictions based on the novel

construction principle of the Due Process Clause. It reasoned that the South Carolina Supreme

Court’s construction of the trespass statute was effectively an ex post facto law. By its terms, the

state statute merely prohibited “entry upon the lands of another . . .after notice from the owner . .

prohibiting such entry. . .” 378 U.S. at 355 (emphasis added). However, there “was nothing in the

statute to indicate that it also prohibited the different act of remaining on the premises after being

asked to leave. Petitioners did not violate the statute as it was written; they received no notice

before entering either the drugstore or the restaurant department.” Id. (emphasis added). Finally,

“the interpretation given the statute by the South Carolina Supreme Court . . . ha[d] not the

slightest support in prior South Carolina decisions.” Id. at 356.

       So too here. Bozell did not “violate the statute as it was written.” Bouie, 378 U.S. at 355.

Section 1512 prohibits obstruction of “official proceedings” which all courts have construed to

mean proceedings before a tribunal that mimic a court of law. There is “nothing in the statute to

indicate that it also prohibited the different act,” Bouie, 378 U.S. at 355, of interfering with




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proceedings that do not hear evidence or find facts. “The interpretation given the statute by the

[government] . . . has not the slightest support in prior [§ 1512] decisions.” Id.

        Accordingly, the novel construction principle requires rejection of the government’s

interpretation, which would operate as an ex post facto law in violation of the Due Process Clause

of the Fifth Amendment.

        E.      The Indictment’s application of § 1512(c)(2) is invalid under the First
                Amendment, as applied to Bozell

        As the government acknowledges, Bozell’s activities on January 6 included political

expression, assembly and petitioning of the government for a redress of grievances. U.S. Const.

amend. I. Insofar as the § 1512(c)(2) charge characterizes protest per se as obstruction of

congressional proceedings, it is an unconstitutional application of the statute as applied to Bozell.

        To prevail on an as-applied challenge under the First Amendment, Bozell must merely

show that § 1512(c)(2) is being unconstitutionally applied as to the specific protected activity for

which he is charged. Edwards v. Dist. of Columbia, 755 F.3d 996, 1001 (D.C. Cir. 2014). The

first question is whether Bozell’s alleged conduct was “expressive.” Texas v. Johnson, 491 U.S.

397, 404 (1989). “[T]o bring the First Amendment into play,” Bozell must merely show “[a]n

intent to convey a particularized message was present” and “the likelihood . . . that the message

would be understood by those who viewed it.” Id. Next, the court assesses whether the challenged

statute is related in any way to the suppression of free expression. If so, and if the law is content-

neutral, the court must subject the statute to intermediate scrutiny. Edwards, 755 F.3d at 1002.

Under that standard, the statute is constitutionally applied only if (1) “it is within the constitutional

power of the government”; (2) “it furthers an important or substantial governmental interest”; (3)

“the governmental interest is unrelated to the suppression of free expression”; and (4) “the



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incidental restriction on alleged First Amendment freedoms is no greater than is essential to the

furtherance of that interest.” United States v. O’Brien, 391 U.S. 367, 377 (1968).

       Here, there is no argument that the conduct charged under § 1512(c)(2) was not protected

expression. The entire thrust of the § 1512(c)(2) offense is that Bozell and others protested at the

Capitol concerning the results of the 2020 presential election. That is the very core of the First

Amendment. A fur pelt sends a message. See, e.g., Johnson, 491 U.S. at 404 (flag burning

expressive); Tinker v. Des Moines Ind. Comm. School. Dist., 393 U.S. 503, 505 (1969) (students

wearing black armbands to protest war is expressive); Brown v. Louisiana, 383 U.S. 131, 141-142

(1966) (sit-in to protest segregation expressive); United States v. Grace, 461 U.S. 171 (1983)

(picketing is expressive); Snyder v. Phelps, 562 U.S. 443, 444 (2011) (“A statement’s arguably

inappropriate or controversial character . . . is irrelevant to the question [of] whether it deals with

a matter of public concern.”).

       Similarly, there is no argument that § 1512(c)(2)’s application here is unrelated to the

suppression of expression, assembly and the petitioning of the government for a redress of

grievances. Again, the thrust of the obstruction claim is that Bozell and the other defendants

intended to affect the actions of Congress: otherwise known as political demonstration and protest.

Critically, the government’s obstruction claim is not limited to any alleged intent to enter the

Capitol and to affect congressional action by force or threats. SI, Count One. After all, the

government could have attempted to charge such an offense under § 1505, prohibiting obstruction

of Congress’s investigatory powers by force or threats. The SI does not charge that offense and

its obstruction theory encompasses the very act of protesting to affect congressional action itself.

Accordingly, § 1512(c)(2) is here “related to the suppression of free expression.” See, e.g., United

States v. Caputo, 201 F. Supp. 3d 65, 71 (D.D.C. 2016) (restricted area statute “related to the



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suppression of free expression” where charged defendant jumped White House fence to protest

executive action).

       Under an intermediate scrutiny test, the Court applies the O’Brien factors to determine the

constitutionality of § 1512(c)(2)’s application here. The following two factors show that the

statute’s application here is unconstitutional: (1) the government’s interest is related to the

suppression of free expression; and (2) the incidental restriction on First Amendment freedoms is

greater than is essential to the furtherance of that interest. O’Brien, 391 U.S. at 377. As explained,

that the § 1512(c)(2) theory in this case is not limited to an attempt to influence Congress by threats

or force can only mean that it covers acts that influence Congress through protest and

demonstration. Moreover, nothing in the SI cabins Bozell’s “obstruction” to the act of entry into

the Capitol Building. (In the January 6 cases, the government has charged many protesters with

felony “obstruction of Congress” who did not enter the Capitol.) If his “obstruction” encompasses

protest outside the Capitol Building, the government is criminalizing not just his expression, but

the expression of every group that politically demonstrates outside that building with a view to

affecting, or “obstructing,” legislation. Second, that restriction is far greater than is “essential” to

the furtherance of the government’s legitimate interest in preventing obstruction of official

proceedings of Congress. For the government could adequately protect that interest merely by

preventing obstruction of Congress “by threats or force”—i.e., using the proper statute for the

crime it is failing to allege, 18 U.S.C. § 1505—or at the very least by preventing obstruction of

Congress through unlawful entry into the building. City of Houston v. Hill, 482 U.S. 451, 459

(1987) (“[W]e have repeatedly invalidated laws that provide the police with unfettered discretion

to arrest individuals for words or conduct that annoy or offend them.”). Accordingly, the SI’s




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overbroad charge against Bozell under § 1512(c)(2) unconstitutionally infringes on his First

Amendment rights and should be dismissed.

III.   The Section 1752 counts should be dismissed

       A.      The SI fails to state an offense because only the USSS restricts areas under §
               1752
       Counts Three and Four contend that Bozell violated § 1752 by entering the Capitol

Building, which the SI characterizes as a “restricted building and grounds,” as that phrase is

defined in § 1752. However, it does not allege that the U.S. Secret Service (USSS) restricted that

area under the statute. The government’s position that any government entity may set a restricted

area under § 1752 finds no support in the statutory text, the case law, or the legislative history.

       Penal statutes are strictly construed. United States v. Moore, 613 F.2d 1029, 198 U.S. App.

D.C. 296 (D.C. Cir. 1979). The plain meaning of § 1752 unequivocally indicates that the USSS

alone sets restricted areas. As shown above, all three definitions of “restricted building or grounds”

in § 1752(c)(1) concern the authority and actions of the USSS and not any other federal agency.

Section 3056, concerning the “powers, authorities, and duties of United States Secret Service,”

confirms that § 1752 is a statute directed to the USSS and not any other federal agency. 18 U.S.C.

§ 3056(d).

       Section 1752 defines “restricted building or grounds” to mean “any posted, cordoned off,

or otherwise restricted area” in any of three scenarios set forth in the statute. § 1752(c)(1). If an

area is to be “restricted,” § 1752(c)(1), some person or government entity must do the restricting.

Areas do not restrict themselves. That statutory phrase’s neighboring provisions, and common

sense, reveal exactly which entity does the restricting. First, the restricting entity must be a

government agency. If a § 1752 restricted area could be set by any person, it would be illegal to

enter an area “cordoned off” around the White House by a homeless person using tinfoil traffic


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cones. § 1752(c)(1)(A). Second, that government agency is the USSS because each of the three

types of “restricted area” are patrolled and managed by that specific agency and no other. §

1752(c)(1)(A)-(C).

       That is why what little § 1752 precedent there is supports Bozell, while none supports the

government’s interpretation. To be clear: before January 6, the government never prosecuted a §

1752 case where the “restricted area” was set by any entity other than the USSS. Instructive is

United States v. Bursey, 416 F.3d 301 (4th Cir. 2005). There, Bursey entered an area restricted by

the USSS in advance of a political rally in South Carolina held by the president. Id., at 304.

Reviewing the trial record, the Fourth Circuit observed that “the Secret Service designated an area

near [the rally] as a restricted area.” Id. It also noted that the “authorized persons” admitted into

the area all “wore lapel pins issued by the Secret Service,” meaning that the USSS was the entity

that granted “lawful access” to the area. Id. Intending to protest the Iraq war, Bursey approached

the restricted area with a megaphone. A Secret Service Agent advised him he could not remain in

that area. He was repeatedly advised thereafter of the same by multiple law enforcement agents

over a twenty to twenty-five minute period. Id. Bursey was charged and convicted under §

1752(a)(1).

       One sufficiency argument Bursey raised on appeal was that, as a matter of mens rea, “he

was never advised that the area was a federally restricted zone, so designated by the Secret

Service.” 416 F.3d at 308 (emphasis added). The Fourth Circuit rejected this argument. But not

on the ground that § 1752 restricted areas need not be so restricted by the USSS. Instead, trial

evidence showed that Bursey “understood the restriction to have been created by the Secret Service

(as opposed to state or local law enforcement).” Id. Added the Fourth Circuit, “[T]here was ample




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evidence that Bursey understood the area to have been restricted by the Secret Service, and thus a

federally restricted zone.” Bursey, 416 F.3d at 309 (emphasis added).

The import of the Fourth Circuit’s logic is clear. Had the Fourth Circuit even contemplated the

idea that entities other than the USSS could restrict areas under § 1752, the above reasoning would

lack sense.

       The government’s anyone-may-restrict interpretation yields absurd results. See United

States v. Am. Trucking Ass’ns, Inc., 310 U.S. 534, 543, 60 S. Ct. 1059, 84 L. Ed. 1345

(1940) (“When [one possible statutory] meaning has led to absurd or futile results . . . this Court

has looked beyond the words to the purpose of the act.”). Consider a Secret Service protectee who

is “temporarily visiting” a place. § 1752(c)(1)(B). The Secret Service sets a “restricted area” of

one block around the protectee’s presence. Under the government’s construction, any local police

unit could decide to extend the “restricted area” to 20 blocks, without authorization from the Secret

Service: the agency charged with protecting the person for whose sake the area is restricted in the

first place. If any person were to enter the expanded area without “lawful authority” (from the

local police? The Secret Service?) the same government that deemed the area limited to one block

could also prosecute a person for entering block 20. The statute has simply never worked that

way, as the Secret Service would readily attest.

       At the very least, the government’s interpretation is not unambiguously correct on the face

of the statute. In that case, the Court would look to legislative history. As shown above, that

history could hardly be clearer: the entire purpose of Section 1752 was to vest a specific federal

agency with area-restricting authority which no agency then possessed: the USSS. A Senate

Judicial Committee report explicitly states that the purpose of § 1752 was to vest the Secret Service

specifically with the power to set federal restricted areas. S. Rep. No. 91-1252 (1970), at 7



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(“[a]lthough the Secret Service [was] charged with protecting the person of the President . . . there

[was], at the present time, no Federal statute which specifically authorize[d] them to restrict entry

to areas where the President maintains temporary residences or offices.”) (emphasis added).

       This is not just Bozell’s view. It is also the view of the Office of Legal Counsel of the

Department of Justice. See Citizens for Responsibility & Ethics in Wash. v. United States, 922

F.3d 480, 483 (D.C. Cir. 2019) (“The authority of the OLC is nearly as old as the Republic itself.”).

In May 1995, the Secretary of the Treasury requested a legal opinion from the OLC on whether

the Secretary had authority to restrict traffic on a segment of Pennsylvania Avenue in order to

protect the President. Authority of the Secretary of the Treasury to Order the Closing of Certain

Streets Located Along the Perimeter of the White House, 19 Op. Off. Legal Counsel 109 (1995).

In crafting this opinion, OLC painstakingly examined the text of § 1752 and its legislative history.

Id. at 109-122. OLC determined that § 1752 did, in fact, specify which government entity restricts

areas under that statute. It is the Secret Service via the Treasury Department: “Section 1752 plainly

grants the [Treasury] Secretary authority to limit ingress and egress to an area where the President

will be visiting to create a security perimeter.” Op. Off. Legal Counsel, p. 113 (emphasis added).

If any government entity could set § 1752 restricted areas, there was no reason for OLC to conduct

the analysis in the first place. Accordingly, Counts Three and Four should be dismissed because

the government does not allege the “restricted area” Bozell entered was set by the USSS (the

government concedes it was not).

       B.      If the government’s interpretation of § 1752 is applied, it is unconstitutionally
               vague as to Bozell
       If the Court concludes that the SI properly charges Bozell with violating § 1752 by crossing

a boundary set by an agency other than the USSS, the statute is unconstitutionally vague as applied

to him. Assuming the truth of the government’s allegations, Bozell saw police lined up outside

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the U.S. Capitol. But if the text, legislative history and common sense inform an “ordinary person”

that he violates § 1752 by entering an area the Secret Service has restricted, there is no notice in

the statute that being on the wrong side of a police barricade is, independent of the Secret Service,

in violation of that statute. The concern about vagueness-enabled arbitrary enforcement is evident.

Generally, the government’s enforcement of § 1752 against Bozell is arbitrary because, prior to

January 6, it had never prosecuted a violation of that statute with the allegation that the accused

entered an area restricted by some government agency other than the USSS. Accordingly, the

government’s election to put a new interpretation on the statute for a select group of related cases

raises questions about discriminatory law enforcement, heightened in the context of Bozell’s rights

to political speech, assembly, and to petition the government for a redress of grievances. U.S.

Const. amend I; Hoffman Estates, 455 U.S. at 500.           Perhaps more serious is the specific

arbitrariness. Hundreds or perhaps thousands of other protesters “entered” the same “restricted

area” as Bozell on January 6. Yet it is undisputed that many of those people have not been charged

under § 1752 like him. Bozell was singled out for reasons that do not concern the animating

purpose of the Secret Service statute. Insofar as they both allege that Bozell entered and remained

in a “restricted area” set by an agency nowhere identified in the statute, Counts Three and Four are

unconstitutionally vague.

The rule of lenity dictates that ambiguities in § 1752 be resolved in Bozell’s favor
       C.      The rule of lenity dictates that ambiguities in § 1752 be resolved in Bozell’s
               favor
       Even if the Court decides that the government’s interpretation of § 1752 is somehow

formally correct—i.e., that any entity may set restricted areas under § 1752(c)—it is plainly not

unambiguously so. That is shown by the lack of any references in § 1752 to agencies other than

the USSS; the statute’s legislative history, which similarly focuses exclusively on the USSS; the


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clear role that the USSS plays in all three definitions of “restricted buildings or grounds” in §

1752(c); the indication in Section 3056 that the USSS enforces restricted areas in § 1752; the lack

of any case law supporting the government’s position; and the common sense notion that if the

USSS patrols and guards the restricted areas in § 1752, it also sets them. Because the government’s

interpretations are not unambiguously correct, the Court is required to resolve any ambiguities in

Bozell’s favor by dismissing Counts Three and Four. Granderson, 511 U.S. at 54; Santos, 553

U.S. at 515.

       D.      The novel construction principle dictates against the government’s
               interpretation, which would operate as an ex post facto law
       Because no court before January 6 ever construed Section 1752 to mean that agencies other

than the USSS may set restricted areas under the statute, such a construction would be retroactively

applied to Bozell and would constitute an ex post facto law in violation of the Due Process Clause

of the Fifth Amendment. Bouie, 378 U.S. at 353.

                                         CONCLUSION

       For all the foregoing reasons, Bozell respectfully requests that the Court dismiss Counts

One, Three, and Four of the SI.

Dated: December 16, 2021              Respectfully yours,


                                      /s/ John M. Pierce
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                                CERTIFICATE OF SERVICE
       I hereby certify that on the 16 day of December 2021, I filed the foregoing motion with the

Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to

the following CM/ECF user(s):

       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].



                                                    John M. Pierce




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